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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Leinani Deslandes
                                       Plaintiff,
v.                                                        Case No.: 1:17−cv−04857
                                                          Honorable Jorge L. Alonso
McDonald's USA, LLC, et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 2, 2022:


        MINUTE entry before the Honorable Jorge L. Alonso: Telephonic motion hearing
held. For the reasons stated on the record, United States' Motion for leave to file statement
of interest [446] is denied. Notice mailed by Judge's staff (lf, )




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